Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 1 of 8 Page ID #:170




   1   Mark S. Lee (SBN 94103)
       mark.lee@rimonlaw.com
   2   RIMON, P.C.
       2029 Century Park East, Suite 400N
   3   Los Angeles, California 90067
       Telephone: 213.375.3811
   4   Facsimile: 213.375.3811
   5   Zheng Liu (SBN 229311)
       zheng.liu@rimonlaw.com
   6   RIMON, P.C.
       800 Oak Grove Avenue, Suite 250
   7   Menlo Park, California 94025
       Telephone: 650.461.4433
   8   Facsimile: 650.461.4433
   9   Attorneys for Defendants
       INTERFOCUS, INC. d.b.a.
  10   www.patpat.com
  11
                          UNITED STATES DISTRICT COURT
  12
                        CENTRAL DISTRICT OF CALIFORNIA
  13
  14 NEMAN BROTHERS & ASSOC.,                  Case No. 2:20-cv-11181-CAS-JPR
     INC., a California Corporation,
  15                                           COUNTERCLAIM OF
                  Plaintiff,                   DEFENDANT INTERFOCUS, INC.
  16                                           FOR BREACH OF CONTRACT
           v.                                  AGAINST NEMAN BROTHERS &
  17                                           ASSOCIATES, INC.
     INTERFOCUS, INC. d.b.a.
  18 www.patpat.com, a Delaware                DEMAND FOR JURY TRIAL
     Corporation; CAN WANG, an
  19 individual, and DOES 1-10, inclusive,     (The Hon. Christine A. Snyder)
  20              Defendants.                  Amended Complaint filed January 5,
                                               2021
  21
  22        Defendant and Counterclaimant InterFocus, Inc (“InterFocus”) alleges as
  23 follows against Plaintiff and Counter-Defendant Neman Brothers & Associates, Inc.
  24 (“Neman Brothers’), without waiving the defenses set forth in its answer.
  25
  26
  27
  28

          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 2 of 8 Page ID #:171




   1                            JURISDICTION AND VENUE
   2         1.    This Court has subject matter jurisdiction over this Counterclaim
   3 pursuant to 28 USC 1331, 28 U.S.C. 2201. 28 U.S.C. 1338(a) and 28 U.S.C.
   4 1367(a).
   5         2.    Venue is proper in this district on this Counterclaim pursuant to 28
   6 U.S.C. 1391(b).
   7                                        PARTIES
   8         3.    Counterclaimant InterFocus is a Delaware corporation with its principal
   9 place of business in Mountain View, California.
  10         4.    InterFocus is informed and believes that Counter-Defendant Neman
  11 Brothers is a California Corporation with its principal place of business in the
  12 County of Los Angeles, State of California.
  13                      CLAIM FOR BREACH OF CONTRACT
  14         5.    InterFocus realleges and incorporates by reference the allegations of
  15 paragraphs 1 through 4 above.
  16         6.    Neman Brothers filed suit against InterFocus on or about November 26,
  17 2019, alleging copyright infringement and related claims in that certain action
  18 entitled Neman Brothers & Associates, Inc. v. InterFocus, Inc., Case No. 2:29-cv-
  19 10112 (the “Previous Action”).
  20         7.    InterFocus denied and continues to deny liability to Neman Brothers
  21 for all claims that were or could have been asserted against in in the Prior Action,
  22 but elected to buy its peace and settle the Previous Action. InterFocus therefore
  23 entered into a settlement agreement (the “Settlement Agreement”) with Neman
  24 Brothers to resolve all claims and disputes that were or could have been alleged
  25 against InterFocus in the Previous Action, effective March 23, 2020.
  26         8.    The Settlement Agreement contains a confidentiality provision, and
  27 InterFocus therefore does not attach a copy of it as an exhibit to this counterclaim.
  28 However, in the Settlement Agreement Neman Brothers and Inter Focus agreed in
                                           1
          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 3 of 8 Page ID #:172




   1 relevant part as follows:
   2              a.     Without admitting liability for Neman Brothers’ claims in the
   3        Previous Action, InterFocus in paragraph 3 of the Settlement Agreement
   4        agreed to pay Neman Brothers an amount of money (the “Settlement
   5        Amount”);
   6              b.     In return for InterFocus’ payment of the Settlement Amount,
   7        Neman Brothers in paragraph 7 of the Settlement Agreement agreed to release
   8        and forever discharge InterFocus and its agents, principals, officers, directors,
   9        employees, etc. for all claims that were or could have been asserted in or
  10        related to the Previous Action up to the date the parties entered into the
  11        Settlement Agreement, except for breach of the Settlement Agreement itself;
  12        and
  13              c.     In paragraph 5 of the Settlement Agreement, Neman Brothers
  14        agreed to give InterFocus adequate notification in writing of any alleged
  15        future copyright or other intellectual property infringement, and agreed to
  16        allow InterFocus seven business days from receipt of such notification to cure
  17        the alleged infringement by removing the allegedly infringing goods from its
  18        platform without incurring additional liability to Neman Brothers for said
  19        infringement.
  20        9.    InterFocus has performed all, or substantially all, of the material terms
  21 of the Settlement Agreement for which it is responsible, or it has been excused from
  22 doing so by Neman Brothers’ misconduct.
  23        10.   In a letter dated September 15, 2020, Neman Brothers wrote InterFocus
  24 and claimed that InterFocus infringed Neman Brothers’ copyrights through sales of
  25 the following garments:
  26
  27
  28
                                                2
          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 4 of 8 Page ID #:173




   1
   2                          ID No.             Image

   3                          45696

   4
   5
   6
   7
   8                          458707

   9
  10
  11
  12                          385561

  13
  14
  15
  16
                              45870
  17
  18
  19
  20
                              399267
  21
  22
  23
  24
  25
  26
  27
  28
                                             3
          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 5 of 8 Page ID #:174




   1                             414159

   2
   3
   4
   5
   6
             11.    InterFocus denied and denies liability for infringing Neman Brothers
   7
       rights with regard to any sales of the above-described garments. Further, sales of at
   8
       least three of the garments Neman Brothers described in its September 15, 2020
   9
       letter had stopped in 2019, before Neman Brothers entered into the Settlement
  10
       Agreement in the Previous Action, and Neman Brothers therefore had already
  11
       released InterFocus from liability for those claims when it entered into the
  12
       Settlement Agreement. Although InterFocus denied and denies liability to Neman
  13
       Brothers for sales of the other three allegedly infringing garments, pursuant to
  14
       paragraph 5 of the Settlement Agreement, InterFocus removed from its platform the
  15
       other products Neman Brothers complained of in its September 15 letter within
  16
       seven days of receipt of Neman Brothers’ notification, and therefore cured any
  17
       alleged infringement with regard to those products as follows:
  18
                             ID No.       Image        Take Down Date
  19
                             456969                        9/16/2020
  20
  21
  22
  23
                             458707                        9/17/2020
  24
  25
  26
  27
  28
                                                  4
           COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                               NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 6 of 8 Page ID #:175




   1                       385561                         9/17/2020

   2
   3
   4
   5        12.   Notwithstanding Neman Brothers’ entry into the Settlement Agreement

   6 and InterFocus’ compliance with its obligations thereunder, Neman Brothers filed
   7 the present action on or about December 9, 2020, which alleges infringement of “the
   8 exact same Subject Designs” for which it had filed suit in the Prior Action. See Dkt.
   9 No. 1, paragraph 16 herein. By filing and pursuing this action Neman Brothers
  10 breaches and continues to breach the Settlement Agreement in numerous ways,
  11 including but not limited to the following:
  12                  a. Neman Brothers seeks to recover for copyright infringement of

  13                     fabric designs that were the subject of the Settlement Agreement,

  14                     liability for which InterFocus was released as set forth in the

  15                     Settlement Agreement;

  16                  b. Neman Brothers seeks to recover for copyright infringement of

  17                     fabric designs InterFocus removed from its platform within

  18                     seven days of receipt of Neman Brothers’ notification, such that

  19                     InterFocus has no liability to Neman Brothers for those “cured”

  20                     infringements as provided in the Settlement Agreement; and

  21                  c. Neman Brothers seeks to recover for alleged copyright

  22                     infringement of fabric designs and garments for which Neman

  23                     Brothers never sent a notification to InterFocus, in violation of

  24                     paragraph 5 of the Settlement Agreement. See Dkt. No. 10 and

  25                     Exhs. 8 and 9 thereto.

  26        13.   By taking the actions set forth above, Neman Brothers has breached

  27 and is continuing to breach the Settlement Agreement.
  28        14. As a proximate result of Neman Brothers’ misconduct and breach of
                                               5
          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 7 of 8 Page ID #:176




   1 the Settlement Agreement as set forth above, InterFocus has been and is being
   2 damaged in an amount to be determined at trial.
   3                               PRAYER FOR RELIEF
   4        Wherefore, InterFocus prays for relief as follows:
   5        1.    For an award of compensatory damages to InterFocus as a result of
   6 Neman Brothers’ breaches of the Settlement Agreement;
   7        2.    For an award of incidental damages in an amount to be determined at
   8 trial; and
   9        3.    For such other and further legal or equitable relief as the Court deems
  10 just and proper.
  11
  12 Dated: February 19, 2021                 RIMON, P.C.

  13                                      By: /s/ Mark S. Lee
  14                                          Mark S. Lee
                                              Zheng Liu
  15
  16                                          Attorneys for Defendants
                                              INTERFOCUS, INC. d.b.a.
  17                                          www.patpat.com
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                               6
          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
Case 2:20-cv-11181-CAS-JPR Document 18 Filed 02/19/21 Page 8 of 8 Page ID #:177




   1                            DEMAND FOR JURY TRIAL
   2        InterFocus demands a jury trial on all claims and defenses triable to a jury.
   3
   4 Dated: February 19, 2021                  RIMON, P.C.

   5                                       By: /s/ Mark S. Lee
   6                                           Mark S. Lee
                                               Zheng Liu
   7
   8                                           Attorneys for Defendants
                                               INTERFOCUS, INC. d.b.a.
   9                                           www.patpat.com
  10
  11
  12
  13
  14
  15
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28
                                                7
          COUNTERCLAIM OF DEFENDANT INTERFOCUS, INC. FOR BREACH OF CONTRACT AGAINST
                              NEMAN BROTHERS & ASSOCIATES, INC.
